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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 Inventergy LBS, LLC,

                       Plaintiff,                    Case No. ________________

       v.                                            Patent Case

 Geoforce, Inc.,                                     Jury Trial Demanded

                       Defendant.


                           COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Inventergy LBS, LLC (“Inventergy”), through its attorney, Isaac Rabicoff,

complains of Geoforce, Inc., (“Geoforce”), and alleges the following:

                                             PARTIES

       1.      Plaintiff Inventergy LBS, LLC is a corporation organized and existing under the

laws of Delaware and maintains its principal place of business at 900 East Hamilton Avenue,

Campbell, CA 95008.

       2.      Defendant Geoforce, Inc. is a corporation organized and existing under the laws

of Delaware that maintains its principal place of business at 750 Canyon Drive, Suite 140,

Coppell, TX 75019.

                                          JURISDICTION

       3.      This is an action for patent infringement arising under the patent laws of the

United States, Title 35 of the United States Code.

       4.      This Court has exclusive subject matter jurisdiction under 28 U.S.C. §§ 1331 and

1338(a).




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        5.      This Court has personal jurisdiction over Geoforce because it has engaged in

systematic and continuous business activities in the District of Delaware. Specifically, Geoforce

provides a full range of products to residents in this District. Geoforce is also incorporated in the

state of Delaware. As described below, Geoforce has committed acts of patent infringement

giving rise to this action within this District.

                                                   VENUE

        6.      Venue is proper in this District under 28 U.S.C. § 1400(b) because Geoforce has

committed acts of patent infringement in this District and is incorporated in the state of

Delaware. In addition, Inventergy has suffered harm in this district.

                                        THE PATENTS-IN-SUIT

        7.      Inventergy is the assignee of all right, title and interest in United States Patent No.

9,219,978 (the “’978 Patent”) and United States Patent No. 9,781,558 (the “’558” Patent)

(collectively the “Patents-in-Suit”), including all rights to enforce and prosecute actions for

infringement and to collect damages for all relevant times against infringers of the Patents-in-

Suit. Accordingly, Inventergy possesses the exclusive right and standing to prosecute the present

action for infringement of the Patents-in-Suit by Geoforce.

The ’978 Patent

        8.      On December 22, 2015, the United States Patent and Trademark Office issued the

’978 Patent. The ’978 Patent is titled “System and Method for Communication with a Tracking

Device.” The application leading to the ’978 Patent was filed on June 24, 2015; which was a

divisional application of U.S. Patent Application No. 13/443,180, that was filed on April 10,

2012; which was a continuation of U.S. Application No. 12/322,941, that was filed on

February 9, 2009; which claims priority from provisional application number 61/065,116, that




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was filed on February 8, 2008. A true and correct copy of the ’978 Patent is attached hereto as

Exhibit A and incorporated herein by reference.

       9.      The ’978 Patent is valid and enforceable.

       10.     The inventors recognized that there was a need for a system and method for

providing enhanced communication with tracking devices, while minimizing power consumption

and network air time. Ex. A, 1:45–51.

       11.     The invention in the ’978 Patent provides a tracking device with a location

detector, communication device, memory processor and configuration routine. Id. at 2:1–3.

The ’558 Patent

       12.     On October 3, 2017, the United States Patent and Trademark Office issued the

’558 Patent. The ’558 Patent is titled “System and Method for Communication with a Tracking

Device.” The application leading to the ’558 Patent was filed on December 7, 2015; which was a

divisional application of U.S. Patent Application No. 14/313,339, that was filed on June 24,

2014; which was a division of U.S. Application No. 13/443,180, that was filed on April 10,

2012; which was a continuation of U.S. Application No. 12/322,941, that was filed on

February 9, 2009; which claims priority from provisional application number 61/065,116, that

was filed on February 8, 2008. A true and correct copy of the ’558 Patent is attached hereto as

Exhibit B and incorporated herein by reference.

       13.     The ’558 Patent is valid and enforceable.

       14.     The inventors recognized that there was a need for a system and method for

providing enhanced communication with tracking devices, while minimizing power consumption

and network air time. Ex. B, 1:48–54.




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       15.     The invention in the ’558 Patent provides a tracking device with a location

detector, communication device, memory processor and configuration routine. Id. at 2:4–6.

                         COUNT I: INFRINGEMENT OF THE ’978 PATENT

       16.     Inventergy incorporates the above paragraphs herein by reference.

       17.     Direct Infringement. Geoforce has been and continues to directly infringe at

least Claim 1 of the ’978 Patent in this District and elsewhere in the United States by providing a

system, for example, Geoforce’s AT4 Tracker, that satisfies the preamble of Claim 1: “[a]

tracking device.” For example, Geoforce’s AT4 Tracker is a tracking device. See

https://www.geoforce.com/wp-content/uploads/2016/12/AT4-Brochure.pdf; webpage available

at: attached hereto as Exhibit C; Figure 1.




                     Figure 1. Geoforce’s AT4 Tracker is a tracking device.

       18.     Geoforce’s AT4 Tracker satisfies claim element 1(a): “a location detector

operative to determine locations of said tracking device.” For example, Geoforce’s AT4 Tracker

tracks location using a built-in receiver supporting GPS and works digitally. See Ex. C; Figure 2.




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 Figure 2. Geoforce’s AT4 Tracker location using a built-in receiver supporting GPS and works
                                          digitally.

       19.     Geoforce’s AT4 Tracker satisfies claim element 1(b): “a communication device

operative to communicate with a remote system.” For example, Geoforce’s AT4 Tracker has a

communication device, such as a built-in transceiver, that is capable of cellular or satellite

communication. See Ex. C; Figure 3.




  Figure 3. Geoforce’s AT4 Tracker has a communication device that is capable of cellular or
                                  satellite communication.

       20.     Geoforce’s AT4 Tracker satisfies claim element 1(c): “memory for storing data

and code, said data including location data determined by said location detector and

configuration data.” For example, Geoforce’s AT4 Tracker has on-board memory capable of

storing location data. See Ex. C; Figure 4.




   Figure 4. Geoforce’s AT4 Tracker has on-board memory capable of storing location data.




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       21.     Geoforce’s AT4 Tracker satisfies claim element 1(d): “a processor operative to

execute said code to impart functionality to said tracking device, said functionality of said

tracking device depending at least in part on said configuration data.” For example, Geoforce’s

AT4 Tracker includes a processor that executes code to determine the location of the AT4

Tracker and sends reports of its location over a set period of time. See Ex. C; Figs. 1–4.

       22.     Geoforce’s AT4 Tracker satisfies claim element 1(e): “a configuration routine

operative to modify said configuration data responsive to a communication from said remote

system.” For example, Geoforce’s AT4 Tracker can be configured to various reporting plans

which determine how frequently location is reported. See Ex. C; Figure 5.




Figure 5. Geoforce’s AT4 Tracker can be configured to various reporting plans which determine
                            how frequently location is reported.

       23.     Geoforce’s AT4 Tracker satisfies claim element 1(f): “a buffering routine

operative to buffer location data indicative of a plurality of said locations when said

communication device is unable to communicate with said remote system.” For example,

Geoforce’s AT4 Tracker receives location data at fixed intervals and stores the location data in

its memory if the device cannot communicate with Geoforce’s server. See Ex. C; Fig. 4.

       24.     Geoforce’s AT4 Tracker satisfies claim element 1(g): “a reporting routine

operative to transmit said location data indicative of said plurality of said locations when said

communication device is able to communicate with said remote system.” For example,

Geoforce’s AT4 Tracker has a reporting mechanism that is activated when requested if the




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communication server cannot communicate with the AT4 Tracker and leaving data stored in the

tracking device’s memory. See Ex. C; Figure 6.




Figure 6. Geoforce’s AT4 Tracker has a reporting mechanism that is activated when requested if
the communication server cannot communicate with the AT4 Tracker and leaving data stored in
                               the tracking device’s memory.

                        COUNT II: INFRINGEMENT OF THE ’558 PATENT

       25.     Inventergy incorporates the above paragraphs herein by reference.

       26.     Direct Infringement. Geoforce has been and continues to directly infringe at

least Claim 31 of the ’558 Patent in this District and elsewhere in the United States by providing

a system, for example, Geoforce’s AT4 Tracker, that satisfies the preamble of Claim 31: “[a]

tracking device.” For example, Geoforce’s AT4 Tracker is a tracking device. See Ex. C; Fig. 1.




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       27.     Geoforce’s AT4 Tracker satisfies claim element 31(a): “a location detector

operative to determine locations of said tracking device.” For example, Geoforce’s AT4 Tracker

tracks location using a built-in receiver supporting GPS and works digitally. See Ex. C; Fig. 2.

       28.     Geoforce’s AT4 Tracker satisfies claim element 31(b): “a communication device

operative to communicate with a remote system.” For example, Geoforce’s AT4 Tracker has a

communication device, such as a built-in transceiver, that is capable of cellular or satellite

communication. See Ex. C; Fig. 3.

       29.     Geoforce’s AT4 Tracker satisfies claim element 31(c): “memory for storing data

and code, said data including location data determined by said location detector and

configuration data.” For example, Geoforce’s AT4 Tracker has on-board memory capable of

storing location data. See Ex. C; Fig. 4.

       30.     Geoforce’s AT4 Tracker satisfies claim element 31(d): “a processor operative to

execute said code to impart functionality to said tracking device, said functionality of said

tracking device depending at least in part on said configuration data.” For example, Geoforce’s

AT4 Tracker includes a processor that executes code to determine the location of the XT4700

Series and sends reports of its location over a set period of time. See Ex. C; Figs. 1–4.

       31.     Geoforce’s AT4 Tracker satisfies claim element 31(e): “a configuration routine

operative to modify said configuration data responsive to a communication from said remote

system.” For example, Geoforce’s AT4 Tracker can be configured over-the-air to various

reporting plans which determine how frequently location is reported. See Ex. D; Fig. 5.

       32.     Geoforce’s AT4 Tracker satisfies claim element 31(f): “a reporting routine

operative to transmit said location data indicative of said plurality of said locations when said

communication device is able to communicate with said remote system.” For example,




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Geoforce’s AT4 Tracker has a reporting mechanism that is activated when requested if the

communication server cannot communicate with the AT4 Tracker and leaving data stored in the

tracking device’s memory. See Ex. D; Fig. 6.

        33.     Geoforce’s AT4 Tracker satisfies claim element 31(g): “wherein said operational

data is indicative of battery status.” For example, Geoforce’s AT4 Tracker is capable of reading

the voltage of the battery of the device at fixed intervals and sending a report for the last voltage

reading. See Ex. D; Fig. 6.

                                            JURY DEMAND

        Under Rule 38(b) of the Federal Rules of Civil Procedure, Inventergy respectfully

requests a trial by jury on all issues so triable.

                                         PRAYER FOR RELIEF

        WHEREFORE, Inventergy asks this Court to enter judgment against Geoforce, granting

the following relief:

       A.      A declaration that Geoforce has infringed the Patents-in-Suit;

       B.      An award of damages to compensate Inventergy for Geoforce’s direct

               infringement of the Patents-in-Suit;

       C.      An order that Geoforce and its officers, directors, agents, servants, employees,

               successors, assigns, and all persons in active concert or participation with them, be

               preliminarily and permanently enjoined from infringing the Patents-in-Suit under

               35 U.S.C. § 283;

       D.      An award of damages, including trebling of all damages, sufficient to remedy

               Geoforce’s willful infringement of the Patents-in-Suit under 35 U.S.C. § 284;




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   E.     A declaration that this case is exceptional, and an award to Inventergy of

          reasonable attorneys’ fees, expenses and costs under 35 U.S.C. § 285;

   F.     An accounting of all damages not presented at trial;

   G.     An award of prejudgment and post-judgment interest; and

   H.     Such other relief as this Court or jury may deem proper and just.


   Date: January 7, 2019                 Respectfully submitted,

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